Case 1:04-cv-01154-.]DT-STA Document 113 Filed 07/08/05 Page 1 of 4 Page|D 78

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

EASTERN DIVISION
RBP, LLC, )
)
Plaintifi`, )
)
vs. ) No. 04-1 154 T/An
)
GENUINE PARTS CO. and INDIANA )
INSURANCE CO., )
) §§ jj
Defendants. ) __ 1371
;_; -:J
\;1_ §
GENUINE PARTS CO., ) 711~ C‘D . S/
) if 532-2 2
Third-Party Plaintiff, ) §§ng »~"* _
) 5_§5?5’§5§__* r_ ;D
vs. ) 5:' ‘,:i. ":"j ;;, 9
)
ALLIANZ GLOBAL RISK U.S. )
INSURANCE CO. and LEXINGTON )
INSURANCE CO., )
)
Third-Party Defendants. )

 

ORDER SETTING HEARING

Before the Court is Plaintiff’s and Third-Party Defendants’ Jolnt Motion to Set Aside

Order Granting Plaintiff’S Third Motion to Amend t`lled en July 6, 2005.

IT IS THEREFORE ORDERED that a hearing be held before United States Magistrate
Judge S. Tholnas Anderson on TUESDAY, JULY 26, 2005 at 10:00 A.M. in the Magistrate
Judge Courtroorn, 4th Floor, United States Courthouse, 111 S. Highland Avenue, Jackson,

Telmessee. All counsel are invited to attend the hearing, but only counsel for the Plaintiff and

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the Third-Party Defendants are required to participate Local Counsel for Third-Party Defendant
Allianz Global Risks U.S. lnsurance Company (“Allianz”) may appear for A]lianz, and counsel

for Third-Party lexington Insurance Company may appear by telephone

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date; O/U..Q\ OcP. 2.006/
§ " '

IT IS SO ORDERED.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 113 in
case 1:04-CV-01154 Was distributed by faX, mail, or direct printing on
July 11, 2005 to the parties listed.

ssEE

 

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Honorable J ames Todd
US DISTRICT COURT

